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UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF NEW YORK


In re: Tashanna B. Golden
fka Tashanna B. Pearson,                                   Chapter 7

                              Debtor,                      Case No. 16-40809 (ESS)


Tashanna B. Golden
fka Tashanna B. Pearson on behalf of herself
and all others similary situated,

                                                           Adv. Pro. No. 1-17-01005(ESS)
                              Plaintiff,

               v.

Firstmark Services LLC, GS2 2016-A (GS2), National
Collegiate Student Loan Trust 2006-4 (NCT 2006),
Pennsylvania Higher Assistance Agency, d/b/a
American Education Services,

                              Defendants.



PLAINTIFF’S SUPPLEMENTAL MEMORANDUM OF LAW IN FURTHER SUPPORT
              OF HER MOTION FOR CLASS CERTIFICATION

       Plaintiff submits this Supplemental Memorandum of Law in Further Support of her Motion

for Class Certification and in response to Defendants’ Supplemental Memorandum of Law filed

on October 26, 2021 (Dkt. No. 438), relating to the Reply Report of Mark Kantrowitz dated

September 1, 2021 (Dkt. No. 420) (“Reply Report”).

                               PRELIMINARY STATEMENT

       Mr. Kantrowitz’s Reply reiterates two fundamental points, neither of which are rebutted in

Defendants’ supplemental brief. First, Defendants and their lenders had available at the time they

made the loans numerous sources to determine whether the loans were within the cost of
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attendance. They could have consulted the relevant school; they could have consulted IPEDS;

they could have consulted the credit reports of the borrowers; and they could have easily

determined whether the school the person was attending was, in fact, a Title IV school. Defendants

have admitted that several lenders, in fact, undertook this due diligence before issuing loans, but

they also admit that several, including Bank One, the originator of Ms. Golden’s NCT loan, did

not. The fact that Defendants and their lenders chose not to obtain this information at the time

they made the loan is not a basis to deny class certification. Under well-established case law

previously cited by Plaintiff, a defendant cannot defeat class certification because of its own failure

to obtain the relevant information or maintain adequate records. See Plaintiff’s Reply Brief in

Support of her Motion for Class Certification (Dkt. No. 418) at 21-25. Moreover, a lender or

servicer that does not wish to violate § 524 needs to make its own determination that its loan is a

qualified education loan before it attempts to collect on the loan after discharge.

       Second, Mr. Kantrowitz points out that, even now, it is possible for Defendants to

determine whether the loans were qualified education loans by obtaining information from the

schools themselves, from the National Student Loan Data System “NSLDS”, or from IPEDS. The

simple truth is that a student’s cost of attendance and a school’s Title IV status are known and

knowable facts. But rather than find those facts, Defendants have chosen to treat their loans as

nondischargeable even though they admit that they do not know which of their loans are, in fact,

qualified education loans.

       Finally, Defendants use their supplemental brief to file what is, in effect, a sur-sur reply

(their fourth brief) on their motion to strike the earlier Kantrowitz report on the ground that Mr.

Kantrowitz should not be opining on issues of law. Mr. Kantrowitz’s Reply Report amply

demonstrates that his opinion is based on his experience and intimate knowledge of the college




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financial aid industry and his citation to the relevant statutes merely provides the necessary context

for his opinion. Recitation of a statute is not rendering a legal opinion.

                                           ARGUMENT

  I.    NOTHING IN DEFENDANTS’ DEPOSITION OF MR. KANTROWITZ IS
        INCONSISTENT WITH HIS REPLY REPORT

        Nothing in Defendants’ deposition or their brief addresses the fundamental points made in

the Kantrowitz Reply Report, namely, that:

              Whether or not a student attended a Title IV institution can easily be determined by
               federal government databases;

              Both private and federal loans are routinely reported to the credit reporting agencies
               so Defendants could have determined what other private loans students received
               prior to making their loans;

              NSLDS is a repository for all federal loans obtained by every student in the United
               States. Defendants can use this repository now to help determine if the loans were
               qualified education loans, either through subpoena or by asking class members to
               consent to access their individual files.

              At the time they made the loans (and even now), Defendants and their lenders could
               have consulted with the individual school to learn the student’s cost of attendance
               and other scholarships, grants and loans. Even if Defendants are correct (and they
               are not) that the numbers the schools are required by law to report to IPEDS is not
               an accurate statement of cost of attendance, the applicable schools have all the
               necessary records by which Defendants could have determined tuition, room,
               board, required fees and all scholarships, grants and loans reported to and approved
               by the school.

              All of these are objective facts and do not require either testimony or cross
               examination.

        Unable to attack these fundamental points, Defendants attempt to create purported

discrepancies and inconsistencies in Mr. Kantrowitz’s testimony. These purported inconsistencies

are all distortions of Mr. Kantrowitz’s consistent, unrebutted opinions. For example, Defendants

argue that “[w]hen confronted with the web page showing the 2006-2007 student budget published

by the University of Pennsylvania Law School for law students, the only item that Mr. Kantrowitz



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disputed was the allowance of health insurance.” Defs’ Br. at 5. This a blatant misstatement of

his testimony. Mr. Kantrowitz merely gave, as an example, the item of health insurance as being

a cost that is not included in cost of attendance. Nowhere did he suggest that this was the only

such cost. See Kantrowitz Dep. at 573:19-577:22.1 In fact, as Mr. Kantrowitz was attempting to

explain, he would have had to do further analysis to determine what other items listed in the

webpage would not be included in cost of attendance. Id. at 575:16-577:15. He was not allowed

to do so because he was cut off by Mr. Casamento. (Casamento: “I asked you if that was correct

or not and you said it was, so we’re done.” Id. at 577:20-22). In his earlier report, Mr. Kantrowitz

did a full comparison of the costs set forth in the Penn Law web page to show that many of those

costs, if not required by the school, would not be considered to be a cost within the cost of

attendance. See Kantrowitz Report of February 2, 2021 (Dkt. No. 372) at 2-5.

       In any event, Defendants conceal the more important fact that, whichever number is used

for Penn Law’s cost of attendance, the Bank One/NCT loan to Ms. Golden clearly exceeded that

cost of attendance. The Bank One/NCT loan of $7,103.00 exceeded even the larger number relied

upon by the Defendants less, other scholarships, loans and grants received by Ms. Golden. Mr.

Kantrowitz, in his earlier report, makes this important point which Defendants do not and cannot

dispute:

       This loan exceeded the cost of attendance after subtracting scholarships, grants and
       other loans, and therefore could not have been borrowed solely to pay for qualified
       higher education expenses. Accordingly, it is not a qualified education loan. The
       lender could have consulted the college’s financial aid office to determine whether
       it exceeded the cost of attendance, minus the aid, but did not. Although school
       certification is not a legal safe harbor, it would have provided the lender with some
       comfort as to whether the loan is a qualified education loan. With regard to the
       Bank One Loan, the lender would have learned through school certification that


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  Defendants cite liberally from the deposition transcript and certain exhibits but fail to provide
them to the Court. The transcript of Mr. Kantrowitz’s October 12, 2021 supplemental deposition
and exhibits 19 and 20, which Defendants cite to, are attached hereto as Appendix A.


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        their loan did not satisfy the requirements to be considered a qualified education
        loan.

Kantrowitz February 2, 2021 Report (Dkt. No. 372) at 5.

        Indeed, Mr. Kantrowitz goes on to point out that Elaine Varas, the University Director of

Financial Aid at the University of Pennsylvania, confirmed that she did not even consider a direct-

to-consumer loan, such as NCT’s, to be an educational loan at all. Rather, it is merely just a private

loan. Id. at 5.

        Defendants also argue that Mr. Kantrowitz conceded that schools have significant leeway

to adjust cost of attendance for different cohorts of students. Defs’ Br. at 5. But the testimony that

Defendants cite was not in reference to determining whether a loan was a qualified loan, but rather,

the process by which schools determine whether a student is eligible for federal aid. As is clear

from the transcript, Defendants’ counsel was asking Mr. Kantrowitz about the testimony of Ms.

Varas, the financial aid administrator from Penn, who admitted that her analysis was simply to

determine a student’s eligibility for federal aid, not whether any particular loan was a qualified

education loan. Mr. Kantrowitz has been consistent in his position that a financial aid officer’s

determination as to what federal financial aid a student may receive is not the process by which

one would determine which loan is a qualified education loan:

         [I]t has been my experience that when a college financial aid administrator certifies
        a loan, they’re focused on the impact on eligibility for federal student aid purposes
        and not for determining whether the loan is a qualified education loan. Reply
        Report (Dkt. No. 420) at 7.

                                             ….

        “In my experience, most college financial aid administrators are not familiar with
        the term ‘qualified education loan’ and its definition.” Id. at 8.

Further, Mr. Kantrowitz was quite specific that the discussion in the Federal Aid Student

Handbook, which was the subject of Defendants’ counsel’s question concerning these additional



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costs, relates solely to the issue of a student’s eligibility of federal financial aid and not the issue

of whether a loan was a qualified education loan. Kantrowitz Dep. Tr. at 521:21-522:4.

        In any event, even if Defendants were correct that one must ascertain the individualized

amount for each student, that information could have been obtained from the applicable

educational institution. Many lenders have chosen to do that. Bank One did not.

        Along the same vein, Defendants argue that Mr. Kantrowitz conceded that there are

“discrepancies between the IPEDS data and the information posted by the college on their

website.” Defs’ Br. at 6. Mr. Kantrowitz did not say that there were discrepancies. He said that

the IPEDS data controls and that what colleges report on their website or in their bulletins may

include additional costs, but those costs simply are not part of what determines whether a loan is

a qualified education loan under the Higher Education Act. This testimony is entirely consistent

with Mr. Kantrowitz’s previous testimony and reports. Kantrowitz Dep. Tr. at 518:2-520:13.

        Defendants also complain that Mr. Kantrowitz does not provide ample support for his

position that IPEDS controls over other data that may be published by the university. But, of

course, they ignore the fact that Mr. Kantrowitz cited that legal authority in his February 2 Report

(Dkt. No. 372) at 2; see also Plaintiff’s Reply Brief in Further Support of her Motion for Class

Certification (Dkt. No. 418) at 20. The Court can draw its own legal conclusions from the statutes

and regulations cited therein.

        Defendants also misrepresent Mr. Kantrowitz’s testimony with regard to the ability of

lenders to obtain information about a prospective borrower’s loans they may have received from

other lenders. Defs’ Br. at 7. First, contrary to Defendants’ assertions, Mr. Kantrowitz was

referring to the data that credit reporting agencies have on other loans and not “credit rating data




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for a potential borrower.” Defs’ Br. at 7.2 Second, although it is certainly true that whether a loan

is reported to a credit reporting agency is at a lender’s discretion, that does not detract from the

fact that, as Mr. Kantrowitz explained, it is the routine practice of private and government lenders

to report their loans to credit reporting agencies. See Reply Report (Dkt. No. 420 at 3-4).3 The

suggestion that any potential private lender could not rely upon the credit history of a potential

borrower as reported to the credit reporting agencies is utterly disingenuous given the fact that the

lending industry routinely relies upon the credit reports for data concerning a borrower’s lending

history. Finally, it is obvious that scholarships and grants would not be reported to a credit

reporting agency and Mr. Kantrowitz has not asserted otherwise. But a prudent lender would

contact both a credit reporting agency and the relevant institution to obtain a complete picture of

a potential borrower’s public and private scholarships, loans, and grants. That is something Bank

One did not do.

       In addition, as Mr. Kantrowitz explained his Reply Report, The National Student Loan

Data System (“NSLDS”) is a comprehensive source of all federal loans made to all students at

institutions of higher education. Mr. Kantrowitz makes this point because it is a relevant source

of information that can be utilized now to determine the scope of the class. Either through

subpoena or by consent by class members, Defendants can obtain the full extent of the federal

loans taken by any of the borrowers. While this would not provide a complete picture of the class,




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  Lenders, of course, use credit scores to determine whether the borrower is credit worthy, but the
relevant point here is that the educational lenders also can and do get credit reports on borrowers
to determine the amount of other federal and private loans they received.

3Defendants cite pages from Mr. Kantrowitz’s Rely Report by assuming the pages of his
declaration are part of the Report. Plaintiff cites to the pages of the actual Report.


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it would significantly ease any burden in determining the scope of the class, since it would identify

those loans in Defendants’ portfolios that exceeded the cost of attendance, less federal loans alone.

        Defendants also entirely distort Mr. Kantrowitz’s discussion of the use of professional

judgment to modify a student’s financial aid needs. First, it is important to note that this discussion

relates solely to a student’s eligibility for federal financial aid and not whether a loan is a qualified

education loan. Second, Defendants intentionally confuse the data. For example, Defendants cite

a source that says that 97% of all institutions use professional judgment to modify a student’s

financial needs assessment. Defs’ Br. at 8. That is not in any way inconsistent with what Mr.

Kantrowitz was testifying about or what he stated in his report. Mr. Kantrowitz was referring to

the fact that only 2.25% to 2.42% of actual student cases involved the exercise professional

judgment. Defendants are comparing this number with the percentage of institutions that allow

for the exercise of professional judgement. Those are two totally different statistics. In addition,

contrary to Defendants’ assertions (Defs’ Br. at 9), Mr. Kantrowitz did not say that only 10% of

the cases involving the exercise of professional judgment result in an increase of student award.

What Mr. Kantrowitz stated in his report is that, in only 10% of cases in which professional

judgment was exercised, was there any “modification of cost of attendance.” Kantrowitz Reply

Report at 8. Finally, Defendants are simply wrong when they assert that the audit of St. Louis

University (Exhibit 19), in citing the percentage of 2.25% to 4.2%, was only referring to cases in

which the family contribution was adjusted. Defs’ Br. at 9. In fact, it is the total percentage of all

cases involving the exercise of professional judgement:

        The national average for the total use of professional judgment, whether or not the
        amount of Pell Grant awards changed, was approximately 2.25% during the award
        year of 2000-2001 and reporting 2.42% during the year 2001-2002.

        Exhibit 19 at 2.




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       In sum, the Defendants’ attempt to punch holes in Mr. Kantrowitz’s expert report through

fabricated discrepancies or inconsistencies, simply fails. His underlying conclusions, which he

has consistently maintained throughout, have not been seriously challenged.

                                       CONCLUSION

       For all the foregoing reasons, Plaintiff respectfully requests that her Motion for Class

Certification be granted.


Dated: November 2, 2021                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I, George F. Carpinello, hereby certify that on the 2nd day of November 2021, I served

the forgoing document on all counsel of record via ECF and electronic mail.

                                            /s/ George F. Carpinello
                                            George F. Carpinello




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